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19                              UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA

21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
22   CASTILLO, and MONIQUE TRUJILLO                    PLAINTIFFS’ NOTICE OF MOTION
     individually and on behalf of all other similarly AND MOTION FOR AN AWARD OF
23   situated,                                         ATTORNEYS’ FEES, COSTS, AND
24                                                     SERVICE AWARDS
                           Plaintiffs,
         v.                                            Judge: Hon. Yvonne Gonzalez Rogers
25                                                     Date: August 7, 2024
26   GOOGLE LLC,                                       Time: 2:00 p.m.
                           Defendant.                  Location: Courtroom 1 – 4th Floor
27


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 1          PLEASE TAKE NOTICE that on August 7, 2024, at 2:00 p.m., the undersigned will
 2   appear before the Honorable Yvonne Gonzalez Rogers of the United States District Court for the
 3   Northern District of California to move the Court for an order granting attorneys’ fees, costs, and
 4   service awards. Plaintiffs and Google met and conferred regarding this motion to try to resolve
 5   disputed issues, but they have not reached any agreement.
 6          This Motion is based on this Notice of Motion and Motion, the accompanying
 7   Memorandum of Points and Authorities, the concurrently filed declarations with supporting
 8   exhibits of Mark Mao, James Lee, Bill Carmody, and John Yanchunis, the papers filed with
 9   Plaintiffs’ Motion for Approval of Class Action Settlement (Dkts. 1096–97), all matters of which
10   the Court may take judicial notice, other pleadings and papers on file in this action, and other
11   written or oral argument that Plaintiffs may present to the Court. 1
12                                      ISSUE TO BE DECIDED
13          Whether the Court should award the requested attorneys’ fees, costs, and service awards.
14                                       RELIEF REQUESTED
15          Plaintiffs respectfully ask the Court to award $217,643,951.05 in attorneys’ fees,
16   $7,656,565.32 in costs, and $30,000 service awards to each of the five named Plaintiffs.
17

18   Dated: April 23, 2024
                                      By: /s/ Mark Mao
19                                        Mark Mao
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27     Unless otherwise noted, all references to “Ex.” are to the exhibits attached to the concurrently
     filed Mao Declaration. Throughout this motion, all emphases are added unless otherwise stated.
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 1   I.     INTRODUCTION

 2          This Court’s certification order described how injunctive relief could bring “important

 3   changes to reflect transparency in the system.” Dkt. 803 at 34. Class Counsel took their

 4   obligations seriously, litigating to the eve of trial and settling only after Google agreed to make

 5   critical changes to its practices. The settlement addresses the past, present, and future, providing

 6   immediate and substantial benefits to every class member, including deletion of private browsing

 7   data, restrictions on how Google stores data, changes to Google’s disclosures, and limits on what

 8   Google may collect going forward. By any metric, the settlement is a win for the approximately

 9   136 million class members whose data was illegally collected, stored, and used. More broadly,

10   this case and this settlement affirm the importance of transparency and accountability.

11          This outcome was never assured, nor easy to achieve. Class Counsel squared off against

12   a large team from Quinn Emanuel, one of the largest and most expensive law firms in the world,

13   where associates routinely bill over $1,000 per hour. Google was also supported by a small army

14   of in-house lawyers, numerous on-call engineers, and 300 contract attorneys, whom Google hired

15   to complete “herculean” discovery efforts with years of “scorched-earth” litigation.

16          Those quoted descriptions are Google’s words, but we agree. Class Counsel filed 30

17   motions to compel to obtain the necessary discovery to prosecute this case. Dkt. 1097-1 at 4 &

18   n.3. Google’s twice-sanctioned discovery misconduct made already complicated and expensive

19   discovery even more difficult, necessitating and later extending a data production process

20   overseen by a technical special master, which required 21 additional hearings and conferences.

21   Id. ¶ 7. Class Counsel also navigated two motions to dismiss (both denied in their entirety), a

22   fully contested class certification motion, and a motion seeking summary judgment on every

23   claim (also denied in its entirety). Only then could mediation begin. See Dkt. 1097-3 at 2 (Google

24   taking the position that any prior mediation would have been “futile”). Mediation was yet another

25   substantial undertaking, requiring over three months to reach a term sheet and two more months

26   to finalize the settlement agreement. All along, Class Counsel prioritized the classes by focusing

27   on injunctive relief and declining to negotiate for any amount of fees. Google has agreed that

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 1   Class Counsel is entitled to fees but reserved the right to contest the amount, if unreasonable.

 2   Both parties waived any right to appeal the fact or amount of any award.

 3           This request turns on Class Counsel’s $62,442,539.30 lodestar, which is based on

 4   reasonable rates and hours worked (after reducing certain rates and hours, as described below).

 5   The rates are reasonable, particularly because they are “the same rate[s] charge[ed to] clients,

 6   including corporations that are billed hourly, which provides a market-based cross-check.” In re

 7   Animation Workers, 2016 WL 6663005, at *6 (N.D. Cal. Nov. 11, 2016). The total hours (78,880)

 8   are also reasonable given the extensive work required over nearly four years. If anything, these

 9   hours are comparatively low. Courts have credited significantly higher hours for cases that settled

10   sooner. E.g., In re Facebook, Inc. Consumer Privacy User Profile Litig., 2023 WL 8445812, at

11   *1-2 (N.D. Cal. Oct. 10, 2023) (awarding $181.25 million in fees following a settlement during

12   fact discovery, and characterizing counsel’s substantially higher 149,928 hours as “reasonable,

13   especially because this litigation has been unusually prolonged and contentious”). This case was

14   also “prolonged and contentious,” particularly given Google’s resistance to producing relevant

15   discovery and its violation of no fewer than four court orders. Yet Class Counsel litigated to the

16   eve of trial in roughly half the time. Class Counsel already provided detailed records to Google,

17   including daily time entries, and they are providing the same to this Court for in camera review

18   with this filing.

19           Class Counsel also respectfully requests a 3.5X multiplier, which is “well within the range

20   of acceptability,” where “[m]ultipliers can range from 2 to 4 or even higher.” Uphold our

21   Heritage v. Town of Woodside, 2008 WL 4868816, at *6 (Cal. Ct. App. Nov. 12, 2008) (affirming

22   multiplier for non-monetary settlement). 2 The contingent nature of this case independently

23   warrants a multiplier because Class Counsel incurred significant attorney time and costs without

24   any guarantee of recovery. Multipliers “approximate market-level compensation for such

25

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     2
      Courts “may cite unpublished California appellate decisions as persuasive authority.”
27   Washington v. Cal. City Correction Ctr., 871 F. Supp. 2d 1010, 1028 n.3 (E.D. Cal. 2012) (citing
     Employers Ins. of Wausau v. Granite State Ins. Co., 330 F.3d 1214, 1220 n.8 (9th Cir. 2003)).
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 1   services, which typically includes a premium for the risk of nonpayment.” Ketchum v. Moses, 17

 2   P.3d 735, 745-46 (Cal. 2001).

 3          Class Counsel’s success provides another basis for the multiplier. All seven claims

 4   survived two motions to dismiss, a contested class certification motion, and summary judgment.

 5   These important rulings laid the foundation for the valuable relief secured with this settlement.

 6   This Court previously awarded a multiplier for a non-monetary settlement that resulted in

 7   “important” changes to company “policies.” St. Louis Police Ret. Sys. v. Severson, 2014 WL

 8   3945655, at *5-6 (N.D. Cal. Aug. 11, 2014) (Gonzalez Rogers, J.). This settlement does that and

 9   more, including by requiring Google to delete and remediate billions of data records and to

10   provide increased privacy protections moving forward, relief that is worth billions. Dkt. 1097-1

11   at 2–3. Furthermore, because attorneys’ fees will be paid by Google and not subtracted from any

12   common fund, any multiplier would not impact class members.

13          Google will inevitably argue that no multiplier is warranted because the Court declined

14   to certify a damages class. As explained below, that argument is legally meritless. It is also bad

15   policy. While Google would prefer a ruling that incentivizes counsel to quickly settle after a

16   denial of Rule 23(b)(3) certification, the better approach is to reward Class Counsel for risking

17   everything at summary judgment and vigorously litigating to the eve of trial, which was

18   necessary to obtain the best result. Any other message will enable giant companies like Google

19   to evade the accountability this Court has demanded from them. See, e.g., Ex. 1 at 12:13-20 (“[I]t

20   concerns me that somehow you don’t want to be held accountable for what you say.”).

21          Class Counsel also respectfully seeks reimbursement of their costs. Google has agreed to

22   pay all costs “that would reasonably be paid by a fee-paying client, including expert fees,” while

23   reserving the right to contest the reasonableness of the request. As with fees, the parties also

24   waived any right to appeal this Court’s decision. Dkt. 1097-3 at 9. Full reimbursement is

25   warranted because all of Class Counsel’s submitted costs are customary and reasonable. Finally,

26   service awards of $30,000 are warranted for each of the five named Plaintiffs given the significant

27   burden this case imposed on their time and privacy.

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 1   II.     ARGUMENT 3

 2           A.     Multiple Bases Support Class Counsel’s Entitlement to Fees.

 3           Federal Rule of Civil Procedure 23(h) provides that “[i]n a certified class action, the court

 4   may award reasonable attorney’s fees . . . that are authorized by law or by the parties’ agreement.”

 5   Here, Google has agreed that Class Counsel is “entitled” to fees, reserving only the right to

 6   contest the reasonableness of the request. See Dkt. 1097-3 at 9. Even absent that agreement,

 7   multiple statutory bases support awarding fees. The ECPA provides for “a reasonable attorney’s

 8   fee and other litigation costs reasonably incurred,” 18 U.S.C. § 2520(b)(3), and the CDAFA

 9   permits the Court to “award reasonably attorney’s fees,” Cal. Penal Code § 502(e)(2). The

10   remaining claims—all California claims—trigger entitlement to fees under California Code of

11   Civil Procedure § 1021.5. See, e.g., Congdon v. Uber Techs., Inc., 2019 WL 2327922, at *2 (N.D.

12   Cal. May 31, 2019) (Gonzalez Rogers, J.). “Because plaintiffs’ claims in this action arise under

13   California law, California law governs recovery of attorneys’ fees.” Id. at *2. 4 The settlement

14   also contains a California choice-of-law provision, so California law applies to any dispute over

15   the reasonableness of the fee request. Dkt. 1097-3 at 11.

16           B.     Class Counsel’s Lodestar Supports the Fee Request.

17           The lodestar method is appropriate for awarding fees in this case. E.g., St. Louis, 2014

18   WL 3945655, at *1 (relying on the lodestar method to award fees for an injunctive-relief

19   settlement). “The ‘lodestar’ is calculated by multiplying the number of hours the prevailing party

20   reasonably expended on the litigation by a reasonable hourly rate.” Id. at *1. The lodestar here is

21   $62,442,539.30, which is based on reasonable rates and hours worked.

22                  1.      Class Counsel’s Hourly Rates Are Reasonable.

23           “To determine reasonable rates, the Court examines market rates in the relevant

24   community, paying close attention to the fees charged by lawyers of reasonably comparable skill,

25
     3
       Consistent with this District’s Procedural Guidance for Class Action Settlements, this Motion
26
     incorporates the Background section of Plaintiffs’ Motion for Final Approval. See Dkt. 1096.
27   4
      California law applies notwithstanding that Plaintiffs have one federal claim (the ECPA claim).
     See Mangold v. Cal. Public Utils, 67 F.3d 1470, 1478 (9th Cir. 1995).
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 1   experience and reputation.” Californians for Alternatives to Toxics v. Kernen Constr. Co., 2022

 2   WL 22227777, at *1 (N.D. Cal. Mar. 21, 2022) (Gonzalez Rogers, J.). It is also “appropriate for

 3   counsel to use their current hourly rates at the time of the fee motion.” Newton v. Equilon

 4   Enterprises, LLC, 411 F. Supp. 3d 856, 882 (N.D. Cal. 2019) (Gonzalez Rogers, J.) (citing In re

 5   Wash. Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1305 (9th Cir. 1994)). Current rates are

 6   particularly warranted here because “Plaintiffs’ attorneys have waited over three years to be

 7   compensated.” Gates v. Deukmejian, 987 F.2d 1392, 1406-1407 (9th Cir. 1992). Class Counsel’s

 8   current rates are listed in Exhibit 2 of the Mao Declaration, and the Carmody, Lee, and Yanchunis

 9   Declarations contain summaries of each timekeeper’s experience and role in this case.

10          These rates are reasonable, as confirmed by numerous decisions and authorities. Ten

11   years ago, in 2014, “hourly rates ranging from $355 to $1,095 per hour for partners and

12   associates” fell “within the prevailing market rates for similar cases in the Northern District.”

13   Banas v. Volcano Corp., 47 F. Supp. 3d 957, 965 (N.D. Cal. 2014). Seven years ago, another

14   court in this District approved “billing rates ranging from $275 to $1600 for partners, $150 to

15   $790 for associates, and $80 to $490 for paralegals.” In re Volkswagen “Clean Diesel” Mktg.,

16   Sales Pracs., & Prod. Liab. Litig., 2017 WL 1047834, at *5 (N.D. Cal. Mar. 17, 2017). Rates

17   have increased, and this Court recently acknowledged that $1,600 rates for partners have been

18   deemed “reasonable” for this District. In re PFA Ins. Marketing Litig., 2024 WL 1145209, at *25

19   (N.D. Cal. Feb. 5, 2024) (Gonzalez Rogers, J.).

20          The reasonableness of Class Counsel’s rates is further evidenced by Judge van Keulen’s

21   decision to award fees based on their actual rates in her first sanctions ruling, with no reductions.

22   Dkt. 631. That approach was warranted, including because most partners bill below the $1,600

23   rate this Court has deemed reasonable. The Wolters Kluwer’s Real Rate Report provides

24   additional support for Class Counsel’s rates. For San Francisco partners, the third quartile rate in

25   2023 was $1,124, which is higher than most Class Counsel partners’ 2024 rates. Ex. 3 at 21; see

26   Myers v. Aetna Life Ins. Co., 2021 WL 5532699, at *4 (C.D. Cal. Mar. 31, 2021) (relying on

27   Wolters “because it is based on actual legal billing, matter information, and paid and processed

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 1   invoices from a wide range of companies”). The third quartile rate for IP work in San Francisco

 2   was even higher—$1,352. Id. at 147. As for associates, a court in 2022 approved “hourly rates

 3   ranging from $965 to $1,060,” which is higher than the 2024 rates for all Class Counsel

 4   associates. Netlist Inc. v. Samsung, 341 F.R.D. 650, 675-76 (C.D. Cal. 2022).

 5          That clients pay Class Counsel’s rates underscores their reasonableness. For Boies

 6   Schiller Flexner and Susman Godfrey, the rates for this submission are the same ones charged to

 7   hourly fee-paying clients, for all timekeepers. See Lee Decl. ¶ 65; Carmody Decl. ¶ 72. “The

 8   rates counsel customarily bills clients is also probative because it evinces the actual rate that the

 9   attorney can command in the market.” Eric B. Fromer Chiropractic, Inc. v. New York Life Ins.

10   & Annuity Corp., 2017 WL 11632540, at *5 (C.D. Cal. Sept. 22, 2017) (cleaned up); see also

11   Animation Workers, 2016 WL 6663005, at *6 (approving then-$1,200 hourly rate for Susman

12   Godfrey attorney Marc Seltzer (also part of this motion) because that “is the same rate that he

13   charges clients, including corporations that are billed hourly, which provides a market-based

14   cross-check”); Nitsch v. DreamWorks Animation SKG Inc., 2017 WL 2423161, at *9 (N.D. Cal.

15   June 5, 2017) (similar). Notably, Quinn Emanuel (Google’s counsel) argued the same in a

16   recently filed fee petition, urging that firms’ “normal and customary rates are the best evidence

17   that the rate is comparable to the market rate.” Motion for Attorney Fees at 12, Health Republic

18   Ins. Co. v. United States, No. 1:16-cv-259-KCD (Fed. Cl. May 2, 2023), Dkt. 192. Class Counsel

19   acknowledges that the rates for David Boies, Bill Carmody, and Marc Seltzer fall on the high end

20   of the market, but these rates are warranted based on their experience and reputations. See

21   Becerra v. Radioshack Corp., 2014 WL 1266622, at *1 (N.D. Cal. Mar. 26, 2014) (Gonzalez

22   Rogers, J.) (evaluating reasonableness of rates “in light of the Class Counsel’s skill, experience,

23   and expertise”); Lee Decl. ¶¶ 8-13; Carmody Decl. ¶¶ 73-75.

24          As for Morgan & Morgan, their rates and time records are routinely analyzed and

25   approved by courts across the country. Recent approvals include: Bitmouni v. PaySafe, Dkt. 103,

26   No. 3:21-cv-641 (N.D. Cal. Feb. 2, 2024) (approving fees and multiplier based on Mr.

27   Yanchunis’ $1,450 billing rate); Hellyer v. Smile Brands Inc., Dkt. 95, No. 8:21-cv-1886 (C.D.

28
                                                   7
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 1   Cal. Jan. 16, 2024) (same); Stoll v. Musculoskeletal Inst. Chartered, Dkt. 115, No. 8:20-cv-1798

 2   (M.D. Fla. Nov. 14, 2022) (approving rates and hours spent and awarding requested multiplier).

 3          In this case, some Morgan & Morgan attorneys who worked on document review were

 4   billed at rates higher than those typically assigned to document-review lawyers, but this case

 5   presented anything but ordinary document review. In addition to having unfettered access to

 6   Google engineers and attorneys, Google hired 300 contract attorneys just to review documents

 7   for responsiveness, a relatively straightforward exercise. Dkt. 1097-1 at 5. Class Counsel needed

 8   to review and understand these documents, including dense technical ones littered with ever-

 9   changing internal Google codenames that confuse even Google’s engineers. To top it off, over

10   700,000 documents were produced in September 2021 or later, with just four months before the

11   January 2022 close of fact discovery, meaning that Class Counsel needed to move very quickly.

12   Mao Decl. ¶ 7. The experienced Morgan & Morgan attorneys who helped with document review

13   have technical educations and backgrounds and have demonstrated proficiencies in other

14   litigations involving highly technical documents. Yanchunis Decl. ¶¶ 8, 16. Class Counsel

15   appropriately tapped these experienced attorneys to efficiently prepare for depositions, motion

16   practice, and trial. Even so, the rates used for this Motion are discounted well below these

17   attorneys’ regular hourly rates. Id.

18          The rates charged by Quinn Emanuel (Google’s counsel) also support this fee petition. A

19   2023 Quinn Emanuel petition included partner rates of $2,030 and $1,525, with multiple

20   associates billing over $1,000 per hour. Affidavit of David Cooper, In re Dell Techs. Inc. Class

21   V Stockholders Litig., Case No. 2018-0816-JTL (Del. Ch. Ct) (Mar. 17, 2023) (Ex. 16). In another

22   petition, Quinn reported hourly rates of $1,045 for a third-year associate and $1,210 for a fifth-

23   year associate, among other high rates. Declaration of Manisha M. Sheth at 3, Rudi v. Wexner,

24   No. 2:20-cv-3068 (S.D. Ohio Dec. 14, 2021), Dkt. 26-9. Quinn associates appear to routinely bill

25   over $1,000 per hour, which Quinn considers to be the “prevailing market rates for attorneys of

26   comparable skill, experience, and qualifications.” Joint Declaration of Berman and Neuwirth at

27   13, Bartron v. Visa Inc., No. 1:11-cv-01831-RJL (D.D.C. Feb. 25, 2022), Dkt. 256-2; see also

28
                                                   8
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 1   id. Dkt. 256-7 at 1 (2022 petition in which seven Quinn associates reported rates of over $1,000).

 2          By contrast, no associate for Class Counsel billed above $1,000 per hour. Even many

 3   partners billed below $1,000, including a partner from Susman Godfrey who handled significant

 4   arguments on the motions to dismiss, class certification, summary judgment, and the Pretrial

 5   Conference. Any reduction of Class Counsel’s (already lower) rates would send a perverse

 6   message—that only attorneys defending corporate giants are entitled to their rates.

 7                  2.      Class Counsel’s Total Hours Are Reasonable.

 8          Class Counsel proactively cut the following time: (1) all travel time in which a lawyer

 9   was not working; (2) all summer associate work; and (3) all time recorded by counsel for

10   attending hearings and depositions in which the timekeeper did not have an active role (i.e., did

11   not speak or play a critical role in preparing for the hearing or deposition). 5 The 78,880 remaining

12   hours used to calculate the lodestar is reasonable given the extensive work this case required over

13   nearly four years. 6 As detailed in Plaintiffs’ approval motion (Dkt. 1097-1), that work included:

14          •   Investigating the factual, technical, and legal bases for Plaintiffs’ claims, and
                conferring with experts to develop the claims.
15
            •   Preparing Plaintiffs’ initial Complaint and First Amended Complaint.
16          •   Successfully opposing two motions to dismiss, in their entirety.
17          •   Propounding 235 RFPs, 40 Interrogatories, and 75 RFAs.
18          •   Responding to discovery, including 55 RFAs, 34 RFPs, and 17 Interrogatories.

19          •   Filing 30 motions to compel, including discovery letter briefs.
            •   Participating in 16 hearings with Judge van Keulen.
20
            •   Securing and reviewing 935,644 documents produced by Google, totaling almost
21              six million pages, including from 43 Google custodians.
22          •   Taking and defending 51 depositions, including 33 depositions of current and
                former Google employees and 13 expert depositions. Mao Decl. ¶ 6.
23
     5
24     Class Counsel includes in their lodestar the amount Judge van Keulen awarded in attorneys’
     fees for the first sanctions motion ($904,936.50) because Class Counsel seeks a multiplier on that
25   time. But Class Counsel subtracted that $904,936.50 from their request to ensure there is no
     double-recovery. See Dkt. 631.
26
     6
      Class Counsel has provided detailed billing records to Google, reflecting daily time entries, and
27   Class Counsel is providing the same for this Court, in camera, which are current through March
     31, 2024.
28
                                                    9
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              •   Participating in a year-long “Special Master Process” overseen by Special Master
 1                Douglas Brush, which included numerous written submissions and 21 hearings and
 2                conferences, on top of the parties’ discovery work with Judge van Keulen.
              •   Reviewing and analyzing 76GB of unstructured data Google produced during the
 3
                  Special Master Process, from 13,483 different files.
 4            •   Retaining, onboarding, and supervising 23 consulting and testifying experts to assist
                  with day-to-day discovery and to prepare expert reports.
 5
              •   Navigating expert discovery with 18 expert reports.
 6
              •   On two occasions, successfully moving for discovery sanctions based on Google’s
 7                violation of court orders, and preparing for and participating in two evidentiary
                  hearings on these motions. Dkts. 587, 898.
 8
              •   Near the close of discovery, successfully moving for leave to amend the Complaint
 9                to incorporate additional Google services. Dkt. 504.
10            •   Briefing and arguing class certification, with Google opposing class certification in
                  its entirety and using all of its allotted Daubert motions; 7 securing nationwide
11                classwide certification under Rule 23(b)(2) on all seven claims. Dkt. 803.
12            •   Overcoming Google’s motion for summary judgment in its entirety, which sought
                  judgment on all seven claims. Dkt. 969.
13
              •   Preparing all pretrial submissions, including filing and opposing nine motions in
14                limine and 300 pages of disputed jury instructions and verdict forms, and preparing
                  for and attending the Pretrial Conference.
15
              •   Beginning another “special master process”—this time with former Magistrate Judge
16                Elizabeth Laporte—focused on evidentiary objections. Dkts. 1081, 1087.
              .

17            •   Preparing for trial (the case settled roughly one month before trial).
18            •   Participating in five months of mediation, from commencement to final settlement.

19            A comparison to other cases illustrates the reasonableness of Class Counsel’s hours. Start

20   with Facebook, 2023 WL 8445812, at *2, which concerned Facebook’s data collection. That

21   court characterized 149,928 hours as “reasonable, especially because this litigation has been

22   unusually prolonged and contentious.” Id. The same is true here—where Plaintiffs persevered

23   through years of discovery stonewalling, sanctioned discovery misconduct, and a lengthy Special

24   Master process. Yet Class Counsel worked roughly half as many hours notwithstanding (i) that

25   Facebook settled during discovery—even before expert reports were served—(ii) class counsel

26   in Facebook took and defended fewer depositions (42 relative to 51), and (iii) the dockets contain

27
     7
         Google would later seek and obtain leave to file an additional Daubert motion. Dkt. 988.
28
                                                      10
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 1   a similar number of entries (1138 in Facebook, as of the fees motion, relative to 1105 here, as of

 2   now). See Motion for Attorney Fees at 9, In re Facebook, Inc. Consumer Privacy User Profile

 3   Litig., No. 3:18-md-02843 (N.D. Cal. June 21, 2023), Dkt. 1139.

 4             Another comparison is In re Twitter Inc. Sec. Litig., 2022 WL 17248115, at *1 (N.D. Cal.

 5   Nov. 21, 2022). Counsel worked 73,550 hours, which their fee expert characterized as “more

 6   modest than robust.” Declaration of Professor William B. Rubenstein at 32, Twitter, No. 16-cv-

 7   05314 (N.D. Cal. Oct. 13, 2022), Dkt. 662-7. Class Counsel in this case worked almost the same

 8   number hours, notwithstanding that (i) Twitter involved substantially fewer documents (210,000

 9   relative to 935,000), (ii) substantially fewer docket entries (660 relative to 1105), and (iii) fewer

10   depositions (41 relative to 51). See id. at 33-34. These and other examples are summarized below:

11                 Case                Hours Worked             Case Statistics         Stage of Case
         Brown v. Google               78,880             Documents Produced:          Settled on eve
12
                                                          Approx 6 million pages       of trial
13                                                        across 935,000 documents
                                                          Depositions: 51
14                                                        Docket Entries: 8 1105
15       In re Facebook, Inc.          149,928            Documents Produced:          Settled near the
         Consumer Priv. User           (Dkt. 1140-6 at    Approx 6.95 million          close of fact
16       Profile Litig., No. 3:18-     22)                pages (Dkt. 1140 at 4)       discovery
         MD-02843-VC, 2023 WL                             Depositions: 42
17       8445812 (N.D. Cal. Oct.                          (Dkt. 1140-6 at 24)
18       10, 2023) (privacy class
                                                          Docket Entries: 1138
         action)
19       In re Twitter Inc. Sec.       73,550             Documents Produced:          Settled on eve
20       Litig., No. 4:16-cv-05314,    (Dkt. 662-7 at     210,000 documents            of trial
         2022 WL 17248115 (N.D.        31)                (Dkt. 662-7 at 33)
21       Cal. Nov. 21, 2022)                              Depositions: 41
         (securities class action)                        (Dkt. 662-7 at 33)
22
                                                          Docket Entries: 660
23       In re Genworth Fin. Sec.      66,874             Documents Produced: 3.2      Settled while
         Litig., No. 3:14-cv-682,      (Dkt. 208 at 54)   million pages                class
24       210 F. Supp. 3d 837 (E.D.                        (Dkt. 208 at 5)              certification and
25       Va. 2016) (securities class                      Depositions: 30              summary
         action)                                          (Dkt. 208 at 5)              judgment
26                                                                                     motions were
                                                          Docket Entries: 204
                                                                                       pending
27
     8
         For each case, the number listed is docket entry just before the motion for attorneys’ fees.
28
                                                       11
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      In re Dell Techs. Inc.        53,000             Documents Produced: 2.9      Settled on eve
 1    Class V Stockholders          (July 31, 2023     million pages (Opinion on    of trial
 2    Litig., No. 2018-0816-        Opinion on Fee     Fee Award at 74)
      JTL, 300 A.3d 679, (Del.      Award at 73)       Depositions: 35
 3    Ch. 2023) (securities class                      (Opinion on Fee Award at
      action; Quinn Emanuel                            75)
 4    was class counsel in this                        Docket Entries: 940
      case)
 5
     Class Counsel worked approximately the same number of hours or less compared to these other
 6
     cases, which came just as close to trial and in some instances settled much sooner.
 7
                    3.      Class Counsel’s Hours Are Especially Reasonable Given Google’s
 8                          Aggressive Approach to Discovery.

 9          Class Counsel’s hours would be even lower but for Google’s hardline approach to

10   defending the case. Google repeatedly resisted producing relevant documents and other

11   discovery, leading Plaintiffs to file 30 motions to compel. Dkt. 1097-1 at 4 & n.3. For example,

12   Google opposed Plaintiffs’ request for document custodians beyond ten employees unilaterally

13   selected by Google. See Dkts. 127, 202. It was only through Class Counsel’s tireless efforts that

14   Google eventually included as custodians, for example, the employees who described Incognito

15   as “a lie” (Ex. 4, Chris Palmer), “broken” (id. Ex. 5, Sammit Adhya), and “not truly private” (id.

16   Ex. 6, Lorraine Twohill). Plaintiffs’ efforts led to Google’s production of many key admissions,

17   including documents involving Google CEO Sundar Pichai and admissions by other senior

18   executives (including Parisa Tabriz’s admission that Incognito was a “confusing mess”, Ex. 7).

19   Even for agreed custodians, Google fought Plaintiffs’ efforts to apply proper search terms, hoping

20   to withhold critical documents But Class Counsel persisted, including by securing key terms like

21   “Incognito,” which Google incomprehensibly resisted. Dkt. 148. Google then withheld relevant

22   non-privileged documents as privileged, requiring additional rounds of motion practice that

23   culminated in orders requiring Google to re-review wholesale categories of documents on its

24   logs, and resulting in almost 1,500 documents coming off those logs, including one where an

25   employee wrote that ““we would never sa[y] that Google doesn’t know who you are while you’re

26   Incognito,” undermining Google’s oft-repeated argument that the data is “anonymous.” Dkt 605;

27   Ex. 8 at -40.R; Dkt. 908 at 9-10.

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                                                  12
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 1          Depositions were more of the same. Plaintiffs had to resort to motion practice just to

 2   secure many of their depositions, including because Google took the position that the default ten-

 3   per-side rule should apply. Dkt. 242-1 (order granting Plaintiffs’ request for additional

 4   depositions). Google then made it difficult to depose key employees, including the head of

 5   Chrome Privacy (Sabine Borsay), insisting “Ms. Borsay will not be able to sit for a deposition”

 6   and requiring Plaintiffs to move (successfully) to compel it. Dkt. 447-1 at 4. When Google did

 7   agree to depositions, its employees sometimes provided what Judge van Keulen described as

 8   “incomplete and therefore misleading” testimony. Dkt. 588-1 at p. 16 ¶ 82. In other instances,

 9   Google made depositions unnecessarily complicated. When Plaintiffs served three 30(b)(6)

10   notices, Google designated eight different witnesses, requiring more depositions. Mao Decl. ¶ 6.

11          Making matters more difficult, Google did not disclose several key witnesses, failing to

12   identify 14 employees with knowledge about how Google uses private browsing data. See Dkt.

13   588-1 (May 2022 sanctions order) at 20; Dkt. 898 (March 2023 sanctions order); Ex. 9 at 83:3-9

14   (ordering document productions for newly disclosed witness Blake Lemoine and noting that “it

15   sounds as if you’ve got on the plaintiffs’ side, a potential whistleblower who really, in many

16   ways, guts much of what [Google] sa[ys] if he’s credible”). When Class Counsel discovered one

17   of those undisclosed witnesses (Bert Leung), Google opposed any discovery into his documents

18   as “unnecessary.” Dkt. 588-1 at 22-23. Undeterred, Class Counsel successfully moved to compel

19   production of his documents, and the ensuing production, near the close of discovery, revealed

20   Google’s use of private browsing detection bits. Id.

21          Similarly, Google’s twice-sanctioned “discovery misconduct” vastly increased the

22   number of hours needed to litigate this case. Dkt. 588 at 7; Dkt. 898. Over a 15-month period,

23   Google violated four court orders—each time resulting in additional work—both to address

24   Google’s violations and to conduct follow-up discovery. Google’s misconduct necessitated (and

25   extended) the Special Master data-production process and led to two sanctions proceedings. None

26   of this should have been necessary, and it was time consuming and expensive. During the

27   summary judgment hearing, when Google’s counsel alluded to “two and a half years of scorched-

28
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 1   earth discovery,” this Court aptly responded: “you didn’t produce things and you’ve been

 2   sanctioned multiple times, so [] the scorched earth could be your fault.” Ex. 10 at 85:19–20.

 3          That was exactly right. Had Google timely complied with the April 30, 2021 order, the

 4   first of the four orders it violated, the parties (and the Court) would have saved a lot of time. That

 5   order required Google to produce “all of” the named Plaintiffs’ data. Dkt. 588-1 at 35 (citing Dkt.

 6   147-1). The obvious place to start would be any logs with private browsing “detection bits”—

 7   i.e., logs that indisputably contain private browsing data. But Google did not disclose these bits

 8   until almost a year later. Another place to start would be logs that contain both signed-out, private

 9   browsing data and signed-in browsing data, particularly given Google’s position throughout the

10   case that private browsing data is “anonymous.” Judge van Keulen even explained to Google that

11   Plaintiffs were entitled to “test” its assertion that the data is anonymous. Ex. 11 at 20:7-8. But

12   instead of identifying the (at least) one Google log that contains signed-in and signed-out data

13   (see Dkt. 898 at 7), Google told the Court that “logs are internally segregated by whether you’re

14   logged into a Google account or aren’t.” Ex. 11 at 16:15-22. In the meantime, in summer 2021,

15   Judge van Keulen appointed Special Master Brush to adjudicate the parties’ disputes about

16   Google’s compliance with that April order, among other disputes. Dkt. 219. Had Google

17   complied with the April order, the Special Master’s involvement might not have been necessary.

18          The ensuing Special Master process was rigorous, time consuming, and costly. Over the

19   year-plus engagement, the parties participated in 21 hearings and conferences with the Special

20   Master, many of which included Plaintiffs’ technical consulting experts. Dkt. 1097-2 ¶ 7. The

21   parties also prepared numerous written submissions to the Special Master, many times on short

22   notice. This work required ongoing coordination with Plaintiffs’ experts as everyone was quickly

23   processing highly technical information about Google’s logs and data infrastructure.

24          At a minimum, the process could have been much shorter and less demanding. But

25   Google continued violating court orders, including a September 2021 order which established a

26   framework for data productions, to be supervised by the Special Master, as well as a November

27

28
                                                  14
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 1   2021 order restarting that process after Google violated the September order. 9 Google’s repeated

 2   violations also forced Plaintiffs to successfully move (over Google’s objection) to extend the fact

 3   discovery schedule. See Dkt. 371 at 9. Discovery in this case was always going to be complex,

 4   but it did not need to be so long, nor so contentious.

 5          Ultimately, Judge van Keulen found in May 2022 (after the close of discovery) that

 6   “Google’s unjustified failure to provide information regarding the Incognito-detection bits

 7   during discovery was improper and constitutes discovery misconduct.” Dkt. 588-1 at 29. As it

 8   turned out, this was only the tip of the iceberg. Google later disclosed more logs, more employees,

 9   and another detection bit, resulting in Judge van Keulen sanctioning Google a second time.

10   “[T]he discovery violations addressed in the May 22 Sanctions Order were far more extensive

11   and thus more prejudicial, than was then known.” Dkt. 898 (March 2023 Sanctions Order) at

12   9. This Court ultimately upheld Judge van Keulen’s recommendation for an adverse-inference

13   jury instruction, reasoning that “those sanctions orders are meaningful [a]nd you should have

14   produced things that you didn’t produce.” Ex. 9 at 78:1-2; see also Dkt. 1088 at 3. Having

15   engaged in aggressive discovery tactics throughout the case that at times crossed over into

16   outright discovery abuse—which unnecessarily complicated and extended discovery—Google

17   cannot credibly object to Class Counsel’s hours. 10

18                  4.      No Reduction Is Warranted as There Were No Unsuccessful Claims.

19          Google may argue that the absence of a damages class warrants a reduction to Class

20   Counsel’s lodestar. But that argument conflates Plaintiffs’ legal claims with their requested relief.

21
     9
      See Dkt. 273 (September Order establishing framework for data productions); Dkt. 299 at 8, ¶
22   53 (October 2021 finding by Special Master Brush that “Plaintiffs’ data . . . have not yet fully
     been produced.”); Dkt. 331 (November 2021 Order by Judge van Keulen upholding the Special
23   Master’s finding that Google had not yet produced Plaintiffs’ data); Dkt. 588-1 (May 2022
24   Sanctions Order) at 35 (“The Court agrees with Plaintiffs that Google violated all three orders,”
     namely, the April, September, and November orders governing data productions).
25   10
        Google’s “Statement of Non-Opposition” to the approval motion seeks to downplay the
     sanctions by stating that Google did not “deliberately conceal[]” evidence. Dkt. 1102 at 2. That
26
     framing conveniently omits the Magistrate Judge’s finding that Google was “grossly negligent.”
27   Dkt. 588-1 at 41. Google’s focus is also misplaced. Whether Google acted deliberately or not, its
     violation of four court orders undoubtedly increased the time Class Counsel spent on this case.
28
                                                   15
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 1   While courts may deduct time spent on “unsuccessful claims” (Greenfield Fresh, Inc. v. Berti

 2   Produce-Oakland, Inc., 2015 WL 1160584, at *3 (N.D. Cal. Mar. 13, 2015) (Gonzalez Rogers,

 3   J.) (citing Hensley v. Eckerhart, 461 U.S. 424, 434-35 (1983))), there are no unsuccessful

 4   “claims” here. All seven claims survived two motions to dismiss, class certification, and

 5   summary judgment. Money damages are one form of relief Plaintiffs sought, not a claim. “[A]

 6   plaintiff who failed to recover damages but obtained injunctive relief, or vice versa, may recover

 7   a fee award based on all hours reasonably expended if the relief obtained justified that

 8   expenditure of attorney time.” Hensley, 461 U.S. at 435 n.11; see also Dang v. Cross, 422 F.3d

 9   800, 813 (9th Cir. 2005) (“[A] plaintiff does not need to receive all the relief requested in order

10   to show excellent results warranting the fully compensatory fee.”).

11          Relying on Hensley, “courts have emphatically rejected” Google’s (anticipated) argument

12   to reduce hours based on an injunctive-relief outcome. Iswed v. Caruso, 2013 WL 12093132, at

13   *4 (W.D. Mich. Feb. 14, 2013). Iswed is instructive. The defendant argued that “because

14   [plaintiff was] granted only ‘half’ of the relief he requested—injunctive relief, but not monetary

15   damages—the court should only award fees for half of the hours spent.” Id. The court disagreed:

16   “the fee award should not be reduced simply because the plaintiff failed to prevail on every

17   contention raised.” Id. Here, as in Iswed, the “requests for monetary damages and injunctive relief

18   largely overlap and are not easily separated,” making any reduction arbitrary and unwarranted.

19   Any reduction is even more inappropriate here, because the plaintiff in that case lost his bid for

20   damages on the merits, following trial. Here, Class Counsel preserved individuals’ right to sue

21   for money, and many individuals are already pursuing such relief.

22          Moreover, the lack of a damages class made no difference to the work that Class Counsel

23   needed to do (and did) on behalf of the classes. Carmody Decl. ¶ 71; Lee Decl. ¶ 66; Yanchunis

24   Decl. ¶ 10. “Both the merits and remedies are inextricably related to the claim as a whole . . . . It

25   seems unlikely that the Hensley Court intended attorneys to divide their hours between merits

26   and relief given that it did not intend them to divide their time between related claims.” Geertson

27   Seed Farms v. Johanns, 2011 WL 5403291, at *5 n. 7 (N.D. Cal. Nov. 8, 2011).

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 1          Case in point is Class Counsel’s work with Plaintiffs’ damages expert, Michael Lasinski.

 2   His classwide damages models (which survived Daubert (see Dkt. 803)) remained relevant after

 3   class certification, both for summary judgment and the Rule 23(b)(2) trial. We know this because

 4   Google tried and failed to exclude his models on the ground that no damages class had been

 5   certified. This Court “largely denied” that motion in limine, “allow[ing] some evidence with

 6   respect to defendant’s profits and its alleged enrichment.” Dkt. 1088 at 4-5. Google’s unjust

 7   enrichment remained relevant to, among other issues, “the degree [of Google’s] intrusion,”

 8   Google’s “motives and objectives,” and the discrepancy between Google’s conduct and “social

 9   norms.” In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 606 (9th Cir. 2020).

10   Plaintiffs also relied on Mr. Lasinski to quantify the size of the class, and those calculations

11   would have been relevant to the Rule 23(b)(2) trial. See Dkt. 608-9 ¶ 195. For example, the jury

12   would have learned that Google’s unlawful conduct impacted 136 million Americans who used

13   the at-issue private browsing modes, with Google unlawfully tracking them.

14          C.      A 3.5X Multiplier Is Appropriate.

15          “Courts applying California law often award multipliers of the lodestar to take into

16   account such factors as the contingent nature of the employment, the quality of the work,

17   difficulty of pretrial and trial preparation, importance of the suit, and the public nature of

18   plaintiffs’ position.” St. Louis, 2014 WL 3945655, at *5. Multipliers are appropriate even where

19   plaintiffs do not secure monetary relief. For example, in Krumme v. Mercury Insurance Co., 123

20   Cal. App. 4th 924, 947 (Cal. Ct. App. 2004), the defendant argued that no multiplier could be

21   awarded since the “plaintiff began by seeking restitution but ended up with only injunctive

22   relief.” The court rejected that argument and affirmed the award, including a multiplier. In St.

23   Louis, this Court awarded a 1.5X multiplier based on a settlement that required defendants to

24   disclose additional information to shareholders, thus “uph[o]ld[ing] important principles of

25   corporate governance.” 2014 WL 3945655, at *6. In City of Plantation Police Officers'

26   Employees’ Retirement System v. Jeffries, the court awarded a 3X multiplier based on a settlement

27   that led to “changes to executive compensation,” citing the importance of “rewarding attorneys

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 1   for the benefits secured.” 2014 WL 7404000, at *19 (S.D. Ohio Dec. 30, 2014). In Uphold our

 2   Heritage, the California Court of Appeal affirmed a 2X multiplier for a mandamus action which

 3   challenged the proposed demolition of a historic house. 2008 WL 4868816, at *7. That multiplier

 4   was “well within the range of acceptability” because “[m]ultipliers can range from 2 to 4 or even

 5   higher.” Id. The list goes on. 11

 6           The requested 3.5X multiplier here falls squarely within that “range of acceptability.”

 7   This multiplier is warranted for four independent reasons: (i) the contingent nature of this case,

 8   (ii) the importance of the case and the difficulties of litigating it, (iii) Class Counsel’s success,

 9   and (iv) the value of the relief secured.

10                   1.      Contingent Nature of the Case

11           “The Ninth Circuit recently held that a district court ‘must apply a risk multiplier to the

12   lodestar when (1) attorneys take a case with the expectation they will receive a risk enhancement

13   if they prevail, (2) their hourly rate does not reflect that risk, and (3) there is evidence the case

14   was risky.’ Failure to apply a risk multiplier in cases that meet these criteria is an abuse of

15   discretion.” Matera v. Google LLC, 2018 WL 11414641, at *5 (N.D. Cal. Feb. 9, 2018) (awarding

16   multiplier for injunctive-only class settlement (citing Stetson v. Grissom, 821 F.3d 1157, 1166

17   (9th Cir. 2016))); see also Bernardi v. Yeutter, 951 F.2d 971, 975 (9th Cir. 1991) (reversing fee

18   award because the district court “should have applied a multiplier of 2.0 to the lodestar figure”).

19           All three requirements are met. First, Class Counsel took this case expecting to, if

20   successful, receive a risk enhancement. Carmody Decl. ¶ 69.; Lee Decl. ¶ 63; Yanchunis Decl.

21   ¶ 12. Second, Class Counsel’s rates do not reflect the risk of nonpayment. Two of the firms (BSF

22   and SG) routinely work for clients who pay the same hourly rates used to calculate the lodestar.

23   Carmody Decl. ¶¶ 69, 72.; Lee Decl. ¶ 65. Morgan & Morgan’s attorneys routinely achieve

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     11
        See also Yong Soon Oh v. AT & T Corp., 225 F.R.D. 142, 154 (D.N.J. 2004) (although plaintiffs
25   did not follow through on their plan to seek (b)(3) class certification, awarding a 2.15X multiplier
     based on a (b)(2) settlement which required the defendant-phone company to make changes to
26
     its directory assistance service); Gaston v. LexisNexis, 2021 WL 2077812, at *7 (W.D.N.C. May
27   24, 2021) (after unsuccessful attempt to secure liquidated damages, awarding a 1.85X multiplier
     for a Rule 23(b)(2) settlement that “requires Defendants to implement certain business changes”).
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 1   results with multipliers above their billed rates. Yanchunis Decl. ¶¶ 12-15. In this situation,

 2   “public policy favors a significant award of attorneys’ fees above what Class Counsel would

 3   have charged on an hourly fee basis.” In re Cap. One Consumer Data Sec. Breach Litig., 2022

 4   WL 17176495, at *5 (E.D. Va. Nov. 17, 2022). “A lawyer who both bears the risk of not being

 5   paid and provides legal services is not receiving the fair market value of his work if he is paid

 6   only for the second of these functions. If he is paid no more, competent counsel will be reluctant

 7   to accept fee award cases.” Uphold our Heritage, 2008 WL 4868816, at *7.

 8          Third, this case was risky. “[V]iewing this case from the outset, its outcome was far from

 9   certain and counsel took a substantial risk that they would not prevail and would be paid nothing

10   for the major portion of their time and effort.” Uphold our Heritage, 2008 WL 4868816, at *7.

11   The related Calhoun case is instructive. After overcoming Google’s consent arguments at the

12   pleadings stage, the plaintiffs lost at summary judgment based on consent—following years of

13   discovery. See Calhoun v. Google, LLC, 645 F. Supp. 3d 916, 922 (N.D. Cal. 2022). Here, the

14   risk of nonpayment was compounded by Google’s unwillingness to entertain settlement until

15   after this Court denied summary judgment. See Dkt. 1097-3 at 2.

16          The nature of this case also made it far riskier than most contingency cases. It featured

17   the perfect storm of a still-developing area of law, complex facts case requiring substantial

18   technical and expert discovery, and an adversary that is one of the richest companies in the world

19   and capable of burying most opponents through sheer muscle, no matter the strength of the case.

20   Class Counsel countered Google’s informational and financial advantages by coming together

21   and making their own substantial long-term investment in this case, which is very difficult for

22   plaintiff-side firms to do. That investment should be rewarded with a significant multiplier.

23   Lawyers should be incentivized to take on tech behemoths, particularly in the absence of a

24   government investigation triggering the case in the first place—as here.

25                  2.     Importance of the Case, and the Difficulties of Litigating It

26          Courts may also award multipliers based on “the difficulty of pretrial and trial

27   preparation” and the “importance of the suit.” St. Louis, 2014 WL 3945655, at *5. This case was

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 1   difficult, to the say the least. Google hired one of the most expensive law firms in the world to

 2   lead its already large team of in-house counsel, engineers, and contract attorneys. Google’s

 3   scorched-earth approach to discovery made the case unnecessarily contentious. Class Counsel

 4   filed 30 motions to compel to obtain relevant discovery regarding Google’s conduct, on top of

 5   two successful sanctions motions and the year-long Special Master process. In St. Louis, which

 6   likewise resulted in non-monetary relief, this Court awarded a 1.5X multiplier although “no

 7   discovery was ever conducted.” Id. at *6. Class Counsel appropriately seeks a higher multiplier—

 8   having spent almost four years litigating, including years of scorched-earth discovery.

 9          Finally, a multiplier is warranted because this case addressed important issues relating to

10   user privacy. “[P]laintiffs have attempted to correct a wrong being perpetrated” on 136 million

11   Americans who used private browsing modes. See AT&T Corp., 225 F.R.D. at 154 (awarding

12   multiplier based on a settlement that required the defendant-phone company to make changes to

13   its practices). “[I]n an era where millions of Americans conduct their affairs increasingly through

14   electronic devices, the assertion that federal courts are powerless to provide a remedy when an

15   internet company surreptitiously collects private data is untenable.” Dkt. 969 (MSJ Order) at 8

16   (quoting Facebook, 956 F.3d at 599). Class Counsel vigorously protected that right to privacy,

17   and they have secured valuable injunctive relief for the classes, as explained below.

18                  3.      Class Counsel’s Success

19          Class Counsel’s success supports the multiplier. As summarized in the Background

20   section of the Motion for Final Approval, see Dkt. 1097-1 at 3-9, Class Counsel’s success

21   included overcoming two motions to dismiss in their entirety, achieving nationwide class

22   certification for both proposed classes on all seven claims, for approximately 136 million

23   Americans, and defeating Google’s summary judgment motion in its entirety. That success laid

24   the foundation for obtaining valuable and immediate relief. “When a plaintiff obtains an

25   injunction that carries a systemic effect of importance or serves a substantial public interest, a

26   substantial fee award may be justified. This is such an injunction.” LeBlanc-Sternberg v.

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 1   Fletcher, 143 F.3d 748, 760 (2d Cir. 1998). 12 The relief takes four forms:

 2          Changes to Google’s disclosures: Google has rewritten its disclosures to specifically

 3   inform users that “Google” collects private browsing data, including by explicitly disclosing so

 4   on the Incognito Splash Screen. Google employees for years pushed for these disclosure changes;

 5   yet Google executives resisted, choosing instead to retain language its top executives described

 6   as “really fuzzy” and “hedging.” Ex. 6 at -67; see also Dkt. 1097-1 at 10-11. Class Counsel has

 7   finally secured these important changes, thus ensuring Google may no longer deceive the “tens

 8   of millions” of Americans who Google’s own counsel conceded “did not understand” Google’s

 9   disclosures. See Ex. 1 at 14:19-20 (quoting Google’s counsel). These “important changes” to

10   Google’s privacy “policies” justify a multiplier. See St. Louis, 2014 WL 3945655, at *6

11   (awarding multiplier for injunctive-relief settlement in part based on “the importance of the

12   changes in corporate governing documents and policies”).

13          Deletion and remediation of private browsing data: Google must delete and remediate

14   billions of data records that reflect class members’ sensitive, private browsing activities. For data

15   not entirely deleted, Google must scrub the data of certain identifying information, including the

16   specific webpages viewed, making it more difficult for Google or others to determine who the

17   data came from and what they were browsing. As explained in the Thompson Declaration filed

18   with the Motion for Final Approval, these requirements impact every relevant data source

19   identified through the Special Master process. Dkt. 1097-17 ¶ 8. By “help[ing] to preserve the

20   privacy rights” of tens of millions of Americans, Plaintiffs have achieved a “significant public

21   benefit.” Edgerton v. State Pers. Bd., 83 Cal. App. 4th 1350, 1362 (Cal. Ct. App. 2000) (affirming

22   multiplier based on the “importance of the privacy rights that were vindicated by the Injunction”).

23   That “significant benefit” is what differentiates this case from Lowery v. Rhapsody Int’l, Inc., 75

24   F.4th 985, 994–95 (9th Cir. 2023), which emphasized that “lawsuits can provide considerable

25   12
        Google’s recently filed Statement of Non-Opposition quibbles with Plaintiffs’ use of the term
26   “injunctive relief,” claiming the relief is more aptly described as “agreed remediation.” Dkt. 1102
     at 2. Google’s spin ignores the portion of the settlement confirming this Court “will retain
27   jurisdiction with respect to the implementation and enforcement of the terms of the Agreement.”
     Dkt. 1097-3 at 11. In any event, the substance of the relief is what matters, not the label.
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 1   benefit to society through nonmonetary relief.” Unlike in Rhapsody, where the court found that

 2   the benefit provided was “minimal” and only helped a small portion of class members, this

 3   settlement provides valuable injunctive relief for every class member, who will automatically

 4   benefit from the required data deletion and remediation without any need to opt-in.

 5          Limits on future data collection: Google during this case changed Incognito so that its

 6   blocks third-party cookies by default for all users, thereby limiting the data that Google collects.

 7   The settlement requires Google to maintain this feature for five years, providing enhanced

 8   privacy for class members. The resulting “increase [to] consumer privacy protection” warrants a

 9   multiplier. Gaston, 2021 WL 2077812, at *7 (awarding multiplier for Rule 23(b)(2) class

10   settlement that “requires Defendants to implement certain business changes”).

11          Removal of private-browsing detection bits: This portion of the settlement exemplifies

12   Class Counsel’s success. The existence of these private-browsing detection bits, one subject of

13   the sanctions orders, may never have been uncovered (much less deleted) but for Class Counsel’s

14   persistence. Their deletion ensures Google will no longer use the private-browsing detection bits

15   to track private browsing users.

16                  4.      The Value of the Relief

17          The multibillion-dollar value of the relief provides even more support for the multiplier.

18   For settlements that include injunctive relief, “the Court must take into consideration the value

19   of that relief [] when considering proportionality” of a fee award. Kumar v. Salov N. Am. Corp.,

20   2017 WL 2902898, at *5 (N.D. Cal. July 7, 2017) (Gonzalez Rogers, J.) (citing Allen v. Bedolla,

21   787 F.3d 1218, 1223 (9th Cir. 2015)). For example, in Kumar, this Court justified its fee award

22   in part based on the “the estimated value of the injunctive relief.” Id. at *8. While this Motion

23   relies on the lodestar, the value of the relief can be used as a “as a cross-check or as an

24   independent methodology.” Id. “In the Ninth Circuit, the benchmark percentage for an attorney

25   fee award is 25% of the total settlement value, including both monetary and non-monetary

26   recovery.” Id. at *7. Here, Class Counsel seeks approximately 7% of the estimated value of the

27   relief secured through this litigation and settlement, well within the benchmark, “[e]ven if the

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 1   Court were to discount the value the settlement.” Id. at *8.

 2          As explained in the Motion for Final Approval, the changes to Google’s practices are

 3   worth billions, based on Plaintiffs’ damages expert’s analyses. Dkt. 1097-1 at 14-15. 13 The data

 4   deletion and remediation portion of the relief is worth between $3 billion to $6 billion, based on

 5   the Ipsos Screenwise Panel through which Google paid users at least $3 per month (per device)

 6   for their browsing data. By requiring Google to delete or remediate the data it impermissibly

 7   collected, the settlement is returning that value to class members. 14

 8          Google’s obligation to continue blocking third-party cookies by default in Incognito for

 9   the next five years yields an additional                in value, based on

10                                                                                                  . In

11   addition, Class Counsel should be given credit for Google’s decision to implement this cookie-

12   blocking feature for all users even before the settlement (i.e., for the period June 2020 through

13   December 2023). Class Counsel is entitled to fees under a “catalyst theory” because this lawsuit

14   prompted a “voluntary change in [Google’s] conduct,” namely, the 2020 rollout of this feature

15   to all Incognito users. MacDonald v. Ford Motor Co., 142 F. Supp. 3d 884, 891 (N.D. Cal. 2015).

16   “For claims brought under California law, the Ninth Circuit continues to recognize a catalyst

17   theory for entitlement to fees.” Kumar, 2017 WL 2902898, at *5. Google likewise agrees this

18   lawsuit was “a substantial catalyst” for Google’s implementation of this change in 2020. Dkt.

19   1097-3 at 9-10. The resulting catalyst credit yields an additional             in settlement value.

20          D.      Plaintiffs’ Costs Are Reasonable and Reimbursable.

21          Class Counsel also seeks $7,656,565.32 in reimbursable costs. See Carmody Decl. ¶¶ 77-

22   81; Lee Decl. ¶¶ 69-123; Yanchunis Decl. ¶¶ 17-19. 15 Google agrees that Class Counsel is

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24   13
       These valuations are also conservative because they do not account for the disclosure changes
     and Google’s deletion of the private browsing detection bits—critical aspects of the settlement.
25
     14
      The valuation could also be based on the cost of data removal services. Exs. 12 ($8.71 per
26   month) and 13 ($6.49 per month). This approach also yields billions of dollars in value.
     15
27     Plaintiffs subtracted the costs Google was already ordered to pay by Magistrate Judge van
     Keulen in her sanctions orders. Dkts. 631 ($66,778.59), 898 ($28,342).
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 1   entitled to recover costs, which the Settlement defines to include “any out-of-pocket costs that

 2   would reasonably be paid by a fee-paying client, including expert fees.” Dkt. 1097-3 at 3, 9. As

 3   with fees, Google reserved the right to contest the reasonableness of the request, but Google has

 4   agreed to pay any amount awarded, without any right to appeal the decision. Id. 16

 5           All of Class Counsel’s submitted costs are typically paid by fee-paying clients, including

 6   their own clients (in the case of BSF and SG). Carmody Decl. ¶ 77; Lee Decl. ¶¶ 69, 72. These

 7   costs include expert fees (for testifying and consulting experts), special master fees, attorney

 8   travel for hearings and depositions (flights and hotels), mediator fees, jury consultant fees, court

 9   reporter fees, printing and delivery fees, filing fees, and legal research charges, among other costs

10   ordinarily billed to clients. This Court has agreed that such costs “are of the type that attorneys

11   working on a non-contingency basis bill to paying clients.” In re PFA, 2024 WL 1145209, at *26

12   (addressing costs such as “travel expenses, research, court filing fees, transcripts and court

13   reporters, mediation expenses, experts, and document review expenses”). This is the norm. See,

14   e.g., Int’l Woodworkers of Am., AFL-CIO, Loc. 3-98 v. Donovan, 769 F.2d 1388, 1392 (9th Cir.

15   1985) (“costs for telephone calls, postage, air courier and attorney travel expenses” are

16   recoverable); Waldo v. Consumers Energy Co., 726 F.3d 802, 827 (6th Cir. 2013) (affirming

17   award reimbursing costs for “focus groups, mock trials, jury-selection services, and mediation”

18   because those costs “were reasonable and necessary to provide [plaintiff] with effective

19   representation”); Morgan v. United States Soccer Fed’n, 2023 WL 2558417, at *2 (C.D. Cal.

20   Jan. 4, 2023) (following class action settlement, awarding as costs “what class counsel expended

21   to pay for experts, mediation, filings, meals, travel, copying, and other costs that are also typically

22   billed to a paying client”).

23

24
     16
25      Even if Google had not agreed to pay these costs, Class Counsel would be entitled to them by
     law, including under their ECPA claim. See 18 U.S.C. § 2520(b)(3) (permitting fees “and other
26   litigation costs reasonably incurred”); In re Google LLC St. View Elec. Commc’ns Litig., 611 F.
     Supp. 3d 872, 889 (N.D. Cal. 2020) (following settlement, holding that “Class Counsel are
27   entitled to the reimbursement of reasonable litigation expenses under . . . the ECPA”), aff’d sub
     nom. In re Google Inc. St. View Elec. Commc’ns Litig., 21 F.4th 1102 (9th Cir. 2021).
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 1            E.     Plaintiffs’ Commitment to the Case Merits $30,000 Service Awards.

 2            Plaintiffs respectfully seek $30,000 service awards for each of the five named Plaintiffs—

 3   totaling $150,000. As with fees and costs, Google has agreed to pay any service awards ordered

 4   by the Court and waived any right to appeal that decision. See Dkt. 1097-3 at 9.

 5            These service awards are justified because this case imposed a significant burden on the

 6   named Plaintiffs. Google served voluminous discovery requests, requiring each named Plaintiff

 7   to respond to 55 RFAs, 34 RFPs, and 17 Interrogatories. Dkt. 1097-2 ¶ 4. Every Plaintiff was

 8   also deposed for a full day. Sitting for deposition is a difficult and uncomfortable experience for

 9   any class representative, but the nature of this case made doing so even more challenging. For

10   example, Google’s counsel subjected the named Plaintiffs to intense questioning about their

11   personal browsing habits, which is precisely what they expected to keep private from Google in

12   the first place. E.g., Ex. 14 at 31:2-33:7 (Google’s counsel asking Plaintiff Trujillo to “give me

13   some examples of something that you might not want someone else to know or see”); Ex. 15 at

14   209:7-211:8 (Google’s counsel asking Plaintiff Byatt about his use of Incognito “to browse adult-

15   oriented websites”). Each of the named Plaintiffs also participated in the data production process

16   overseen by Special Master Brush, which required them to work with experts—yet another

17   process that imposed on their time and privacy. Finally, to preserve potentially relevant data,

18   each named Plaintiff permitted their personal devices to be imaged, another onerous and invasive

19   task. This Court has issued $30,000 and $50,000 service awards in a case that imposed

20   demanding burdens, and $30,000 is warranted here too. del Toro Lopez v. Uber, 2018 WL

21   5982506, at *3 (N.D. Cal. Nov. 14, 2018) (Gonzalez Rogers, J.) (awarding those amounts

22   because the plaintiffs “were substantially involved throughout the litigation”); see also Dkts.

23   1097-23 ¶ 11 (Brown declaration explaining the burdens here); see also Dkt. 1097-24 ¶ 11

24   (Castillo); Dkt. 1097-25 ¶ 11 (Davis); Dkt. 1097-26 ¶ 12 (Trujillo); Dkt. 1097-27 ¶ 11 (Byatt).

25   III.     CONCLUSION

26            Plaintiffs respectfully ask the Court to award $217,643,951.05 in attorneys’ fees,

27   $7,656,565.32 in costs, and $30,000 service awards to each of the five named Plaintiffs.

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     Dated: April 23, 2024
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       Motion for Attorneys’ Fees, Costs, and Service Awards   4:20-cv-03664-YGR-SVK
